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                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                                                                                                       November 04, 2022
                        IN THE UNITED STATES BANKRUPTCY COURT                                          Nathan Ochsner, Clerk
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                           )
 In re:                                                    )     Chapter 11
                                                           )
 Tug Robert J. Bouchard, Corporation,1                     )     Case No. 20-34758 (DRJ)
                                                           )
                   Post-Effective Date Debtors.            )
                                                           )     (Formerly Jointly Administered Under Lead
                                                           )     Case: Bouchard Transportation Co., Inc., 20-
                                                           )     34682)


                           AGREED AMENDED SCHEDULING ORDER                                     (Docket No. 194)

        1.      The Parties shall serve initial Fed. R. Civ. P. 26(a) initial disclosures, and
interrogatories, if any, and requests for production of documents, if any, on or by May 31, 2022.

       2.      The Parties shall serve responses to interrogatories and responses to requests for
production of documents on or by August 31, 2022.

          3.      The Parties shall complete all fact witness depositions by November 30, 2022.

          4.      The Parties shall exchange expert designations and expert reports on November 30,
2022.

          5.      Expert depositions, if any, shall be completed on or by January 20, 2023.

          6.      The Parties shall file a joint pre-trial statement with the Court by February 15, 2023.

       7.                                                                              February 22
               The Parties shall hold a pre-trial status conference with the Court on ________,
         2:30 p.m.CT. The Court will assign a trial date at the conference.
2023 at _______




         1
                  Due to the large number of Debtors in these chapter 11 cases, a complete list of the Debtor entities
and the last four digits of their federal tax identification numbers is not provided herein. A complete list may be
obtained on the website of the Debtors’ claims and noticing agent at https://cases.stretto.com/bouchard. The location
of the Debtors’ or Post-Effective Date Debtors’ service address is: c/o Portage Point Partners, LLC, 300 North
LaSalle, Suite 1420, Chicago, Illinois 60654.
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       8.      Part VII of the Federal Rules of Bankruptcy Procedure applies to the contested
matter regarding GMD Shipyard Corp.’s Motion for Allowance and Payment of Administrative
Expense Claim [Docket No. 95], including Federal Rule of Bankruptcy Procedure 7026.


SO ORDERED:

___________________
        Signed: November 04, 2022.                       _____________________________
                                                         JUDGE DAVID JONES
                                                ____________________________________
                                                         CHIEF BANKRUPTCY JUDGE
                                                DAVID R. JONES
                                                UNITED STATES BANKRUPTCY JUDGE


AGREED AS TO FORM AND SUBSTANCE:

/s/ Genevieve M. Graham                      /s/ John T. Lillis
JACKSON WALKER L.L.P.                        KENNEDY LILLIS SCHMIDT & ENGLISH
Matthew D. Cavenaugh (TX Bar No. 24062656)   John T. Lillis
Genevieve M. Graham (TX Bar No. 24085340)    Thomas C. Murphy
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Counsel for the Debtors and                  Counsel for the GMD Shipyard Corp.
Debtors in Possession
